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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF TEXAS

                                      WACO DIVISION


UNITED STATES OF AMERICA                        §
                                                §
v.                                              §       CRIMINAL NO. 6:24-CR-267-ADA
                                                §
DSYMONE SUITERS                                 §

                         REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE ALAN D ALBRIGHT,
       UNITED STATES DISTRICT JUDGE

       The undersigned submits this Report and Recommendation to the district judge pursuant to

28 U.S.C. § 636(b) and Rule 1 of Appendix C of the Local Court Rules of the United States

District Court for the Western District of Texas, Local Rules for the Assignment of Duties to

United States Magistrate Judges. Before the Court is the petition of the United States Probation

Office recommending the revocation of the defendant’s term of supervision. The district judge

referred the matter to the undersigned for the preparation of a report and recommendation.

                            I. PROCEDURAL BACKGROUND

       The defendant was convicted of False Statements in violation of Title 18 U.S.C. § 1001.

The Court sentenced the defendant to time served, followed by two (2) years of supervised release;

a $100.00 special assessment; and special conditions ordered. Defendant was released to

supervision on December 20, 2023. On January 31, 2025, the United States Probation Office filed

a Petition for Warrant or Summons for Offender Under Supervision, alleging the defendant

violated the terms of his supervision and seeking a show-cause hearing as to why the defendant’s

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supervision should not be revoked. The amended petition alleges the defendant violated the terms

of his supervision in the following instances:

Violation Number 1: The defendant violated her special condition, in that on or about January 27,
2025, the defendant failed to participate in mental health treatment.

Violation Number 2: The defendant violated mandatory condition number 1, in that on or about
October 1, 2024, the defendant unlawfully appropriated property with intent to deprive the owner
of property without the owner’s effective consent, in violation of T.P.C. § 31.03, a misdemeanor.

Violation Number 3: The defendant violated mandatory condition number 1, in that on or about
October 1, 2024, the defendant intentionally gave a false or fictitious name, residence address, or
date of birth to a peace officer who had lawfully detained her person, in violation of T.P.C. §
38.02, a misdemeanor.

Violation Number 4: The defendant violated mandatory condition number 3, in that on or about
October 8 and November 16, 2024, she used or possessed marijuana, in that on October 8 and
November 26, 2024, she submitted a urine specimen which tested positive for marijuana.

Violation Number 5: The defendant violated standard condition number 3, in that on or about
March 18, 2024, she traveled outside of the district without permission.

Violation Number 6: The defendant violated standard condition number 5, in that on or about
March 18, 2024, and during the entire months of December 2024 and January 2025, she failed to
live at a place approved by the probation officer.

Violation Number 7: The defendant violated standard condition number 7, in that on or about
January 31, 2025, she failed to work full time at a lawful type of employment.

Violation Number 8: The defendant violated standard condition number 9, in that on or about
March 18 and November 12, 2024, and January 30, 2025, she failed to notify the probation officer
of law enforcement contact.


       At the hearing, the defendant pleaded true to the violations. The government presented

evidence that would support a finding of true, by a preponderance of the evidence, as to the

violations.

1)     The defendant violated the conditions of her supervision as alleged in the petition.

2)     The defendant was competent to make the decision to enter a plea to the allegations.


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3)    The defendant had both a factual and rational understanding of the proceedings against her.

4)    The defendant did not suffer from any physical or mental impairment that would affect her

      ability to fully understand the charges against her or the consequences of her plea.

5)    The defendant has not had any injury that would affect her judgment in entering a plea or

      that would affect her understanding of the basis, consequences, or effect of her plea.

6)    The defendant was sane and mentally competent to stand trial for these proceedings.

7)    The defendant was sane and mentally competent to assist her attorney in the preparation

      and conduct of her defense.

8)    The defendant received a copy of the petition naming her, and she either read it or had it

      read to her.

9)    The defendant understood the petition and the charges alleged against her and had the

      opportunity to discuss the petition and charges with her attorney.

10)   The defendant understood that he had the right to present evidence and to cross-examine

      witnesses at the hearing.

11)   The defendant freely, intelligently, and voluntarily entered her plea to the allegations.

12)   The defendant understood her statutory and constitutional rights and desired to waive

      them.




                                     III. RECOMMENDATION



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       The undersigned has carefully considered all the arguments and evidence presented by

the parties and RECOMMENDS that the defendant’s supervised release be continued. The

defendant shall be referred to in- or out-patient mental health and drug treatment as directed by

the probation officer.

                                       IV. WARNINGS

       The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The district court need not consider frivolous, conclusive, or general objections. See

Battles v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the district judge of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

district judge. See 28 U.S.C. 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53 (1985); Douglass

v. United Services Automobile Association, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

       SIGNED this 19th day of March 2025.




                                             DEREK T. GILLILAND
                                             UNITED STATES MAGISTRATE JUDGE




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